          Case 1:21-cr-00444-JEB Document 48-1 Filed 05/20/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-444 (JEB)
                v.                             :
                                               :
BRIAN CHRISTOPHER MOCK                         :
                                               :
                        Defendant.             :

                                              ORDER

         Upon consideration of the United States’ motion, filed under seal, seeking to seal the

defendant’s pending Motion for Reconsideration of Detention Order, ECF No. 46, and the

government’s forthcoming response to it, both of which contain personally identifying

information of a witness covered by the protective order issued in this case, ECF No. 27, it is

hereby

         ORDERED, that the motion is GRANTED, and it is further

         ORDERED, that the United States’ motion, the defendant’s pending Motion for

Reconsideration of Detention Order, ECF No. 46, and the government’s forthcoming response to

it all shall be filed and maintained under seal until further order of this Court.




Date:                                          _____________________________________
                                               THE HONORABLE JAMES E. BOASBERG
                                               UNITED STATES DISTRICT JUDGE
